         Case 22-33553 Document 925 Filed in TXSB on 11/20/24 Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                          §
                                                §                CHAPTER 11
ALEXANDER E. JONES                              §              CASE NO. 22-33553
    Debtor                                      §

                           NOTICE OF STATUS CONFERENCE
                                [Relates to Dkt. No. 913]

         PLEASE TAKE NOTICE that a Status Conference on the Emergency Motion to

Disqualify Global Tetrahedron, LLC’s Bid [Docket No. 913] will be held on Monday, November

25, 2024 at 2:00 p.m. (prevailing Central Time) before the Honorable Christopher M. Lopez,

Courtroom 401, 515 Rusk, Houston, Texas 77002, via telephone or video conference.

         All persons appearing at the hearing may appear telephonically or via video using the

following information:

            •   Telephonic Connection
                o The Dial-in Telephone number: 1-832-917-1510; and
                o Conference Code: 590153
                o Please mute your microphone until ready to speak to the Court.

            •   Video Connection
                o https://www.gotomeet.me/JudgeLopez

Additional information and procedures appearing before Judge Christopher M. Lopez may be found
at: https://www.txs.uscourts.gov/sites/txs/files/Lopez%20Court%20Procedures_.pdf.

                                                           Respectfully submitted,

                                                            /s/ Walter J. Cicack
                                                           WALTER J. CICACK
                                                           State Bar No. 04250535
                                                           wcicack@hcgllp.com
                                                           HAWASH CICACK & GASTON LLP
                                                           711 W. Alabama St., Suite 200
                                                           Houston, Texas 77006
                                                           (713) 658-9015 - tel/fax
                                                           Attorneys for First United American
                                                           Companies, LLC
       Case 22-33553 Document 925 Filed in TXSB on 11/20/24 Page 2 of 2




                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on this 20th day of November, 2024.

                                                              /s/ Walter J. Cicack
                                                             Walter J. Cicack




                                              2
